     Case 1:10-cr-00088-SM   Document 44   Filed 07/22/10   Page 1 of 3




                    UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW HAMPSHIRE


United States

     v                                       Civil No. 10-cr-88-02-SM

Dwayne C. Gousby


                               O R D E R


     Before the court is the defendant’s Motion to Re-open Bail

Hearing (document no. 37).     After a bail hearing on March 22,

2010, Magistrate Judge Muirhead ordered the defendant detained,

finding that there were no conditions or combination of

conditions that would reasonably assure the safety of the

community.   Judge Muirhead found:

     Specifically, these are gun charges with evidence from
     an informant, witnesses, recordings and a co-
     conspirator that will very probably lead to conviction.
     He has two prior gun convictions, violation of a
     restraining order, and drug convictions. He described
     his drug business in a recorded conversation with the
     CI.

     18 U.S.C. § 3142(f)(2)(B) governs the decision to reopen a

bail hearing and provides, in relevant part:

     . . . The hearing may be reopened, before or after a
     determination by the judicial officer, at any time
     before trial if the judicial officer finds that
     information exists that was not known to the movant at
     the time of the hearing and that has a material bearing
     on the issue whether there are conditions of release
     that will reasonably assure the appearance of such
     person as required and the safety of any other person
     and the community.
     Case 1:10-cr-00088-SM   Document 44   Filed 07/22/10   Page 2 of 3




     Defendant alleges the following facts as grounds for

reopening the bail hearing:

     •     Defendant has not been indicted for drug-related

           offenses since the date of the detention hearing;

     •     During January 2010, defendant performed 21 hours of

           community service at a community center;

     •     Defendant could be placed on home detention with

           electronic monitoring; and

     •     Amanda Martins, the mother of defendant’s two sons,

           hopes to start school on August 2, 2010, and needs the

           defendant to watch her sons while she attends school.

     These facts are insufficient for this court to reopen Judge

Muirhead’s March 22 detention order.       Judge Muirhead’s detention

order rested on a finding of dangerousness, with specific

concerns about both the fact that defendant’s pending charges

involved guns and that the weight of the evidence against the

defendant was strong.    Judge Muirhead was also concerned about

the defendant’s criminal record, which included two prior gun-

related convictions.

     The fact that the defendant has not yet been indicted on

drug-related charges does not change the fact that he has been

indicted on gun-related charges.      The defendant’s community

service is laudable, but it pre-dated the March 22 detention

hearing, and it has no material bearing on the dangerousness

finding.    Judge Muirhead was well aware of the availability of
        Case 1:10-cr-00088-SM   Document 44   Filed 07/22/10   Page 3 of 3




home detention with electronic monitoring as a condition of

release, and he did not find it appropriate.            The fact that Ms.

Martins needs childcare is of no relevance on the question of

bail.

      For these reasons, the defendant’s Motion to Re-open Bail

Hearing (document no. 37) is denied.          Should the defendant

provide this court with a future request to reopen bail hearing

which contains new information that would have a material bearing

on the question of dangerousness, this court will schedule a

hearing on such motion.

  SO ORDERED.



                                    _______________________________
                                    Landya B. McCafferty
                                    United States Magistrate Judge

Dated: July 22, 2010

cc:   Jeffrey S. Levin, Esq.
      Peter E. Papps, Esq.
      U.S. Probation
      U.S. Marshal
